Case 0:15-cv-61811-JIC Document 1 Entered on FLSD Docket 08/28/2015 Page 1 of 6



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  FT. LAUDERDALE DIVISION
                                   CASE NO.: 0:15-CV-61811

 AIDA MONTANE,

         Plaintiff,
 v.

 MSC CRUISES (USA) INC.

       Defendant.
 _______________________________________/


            COMPLAINT FOR DAMAGES AND DEMAND FOR TRIAL BY JURY

         Plaintiff, AIDA MONTANE, individually, by and through the undersigned counsel and

 pursuant to the applicable Federal Rules of Civil Procedure, files her COMPLAINT FOR

 DAMAGES AND DEMAND FOR TRIAL BY JURY against the Defendant, MSC CRUISES

 (USA) INC., and states:

                                 PARTIES AND JURISDICTION

      1. This is an action seeking damages in excess of $75,000.00, exclusive of interest, costs

         and attorney’s fees.

      2. Federal subject matter jurisdiction arises under and is by virtue of Diversity of

         Citizenship pursuant to 28 U.S.C. § 1332, as this is a civil action where the matter in

         controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

         between citizens of different States and/or citizens of a State and citizens or subjects of a

         foreign state, and arises under and is by virtue of the admiralty or maritime jurisdiction

         pursuant to 28 U.S.C.§ 1333, and is being filed in Federal Court as required by the venue

         selection clause in the Passenger Contract Ticket issued by the Defendant.
Case 0:15-cv-61811-JIC Document 1 Entered on FLSD Docket 08/28/2015 Page 2 of 6
                                                                      CASE NO.: 0:15-CV-61811


    3. Plaintiff, AIDA MONTANE, is sui juris and is a resident and a citizen of Broward County,

       Florida.

    4. Defendant, MSC CRUISES (USA) INC. (hereinafter “MSC”), is a foreign corporation,

       who is authorized to conduct and does conduct business in the State of Florida, and at all

       times material hereto was and is doing business in Broward County, Florida, and is sui

       juris.

    5. Defendant MSC, at all times material hereto, personally or through an agent, in the

       County and in the District in which this Complaint is filed:

           a. Operated, conducted, engaged in or carried on a business venture in this state

                and/or county; and/or

           b. Had an office or agency in this state and/or county; and/or

           c. Engaged in substantial activity within this state; and/or

           d. Committed one or more of the acts stated in Florida Statutes, Sections 48.081,

                48.181 or 48.193;

    6. All conditions precedent for filing and maintaining this action have been fulfilled, have been

       waived, or do not apply.

                       OTHER ALLEGATIONS COMMON TO ALL COUNTS

    7. DATE OF INCIDENT. This incident occurred on April 12, 2015.

    8. LOCATION OF INCIDENT.               The incident occurred when the Plaintiff was a lawfully

       paying passenger aboard the Defendant’s, MSC’s, cruise ship vessel DIVINA.

    9. STATUS OF PLAINTIFF AS OF DATE AND TIME OF INCIDENT.                             At all times

       material hereto, the Plaintiff was a lawfully paying passenger on the DIVINA cruise ship

       accordingly, was an invitee while on the vessel.


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Case 0:15-cv-61811-JIC Document 1 Entered on FLSD Docket 08/28/2015 Page 3 of 6
                                                                      CASE NO.: 0:15-CV-61811


    10. DESCRIPTION OF THE INCIDENT. On the date and time of the incident, the

       Defendant knew or should have known of the dangerous and hazardous condition(s)

       created by failing to remedy a foreign liquid like substance on the deck so that the

       Plaintiff could and would slip and violently fall. The subsequent fall resulted in serious

       bodily injury. Additionally, these dangerous conditions caused or otherwise contributed

       to severe and debilitating injuries sustained by the Plaintiff. Nonetheless, Defendant,

       MSC, failed to eliminate the hazard(s) and failed to properly maintain, inspect or warn of

       such hazards and failed to properly train and supervise its crew such that such an incident

       could have been avoided.

                                                COUNT I
                                              NEGLIGENCE

    11. Plaintiff hereby adopts and realleges each and every allegation in paragraphs 1 through 10.

    12. DUTIES OWED BY THE DEFENDANT. The Defendant owed a “duty to exercise

       reasonable care for the safety of its passengers” including the Plaintiff herein. See, Hall

       vs. Royal Caribbean Cruises, Limited, 888 So. 2d 654 (Fla. 3d DCA 2004), 2004 A.M.C.

       1913; citing Kermarec v. Compagnie Generale Transatlantique, 358 U.S. 625, 79 S. Ct.

       406, 3 L. Ed. 2d 550 (1959); The Moses Taylor, 4 Wall. 411, 71 U.S. 411, 18 L. Ed. 397

       (1866); Carlisle v. Ulysses Line Ltd., 475 So. 2d 248 (Fla. 3d DCA 1985).                 The

       Defendant also owed a “duty to exercise reasonable care under the circumstances.” See,

       Harnesk vs. CARNIVAL Cruise Lines, Inc, 1992 AMC 1472, 1991 WL 329584 (S. D. Fla.

       1991). The Defendant’s “duty is to warn of dangers known to the carrier in places where

       the passenger is invited to, or may reasonably be expected to visit.” See, Carlisle vs.

       Ulysses Line Limited, S.A., 475 So. 2d 248 (Fla. 3d DCA 1985). Vierling v. Celebrity

       Cruises, 339 F.3d 1309, 1319-20 (11th Cir. 2003).

                                                  3
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Case 0:15-cv-61811-JIC Document 1 Entered on FLSD Docket 08/28/2015 Page 4 of 6
                                                                         CASE NO.: 0:15-CV-61811


    13. Defendant, MSC, breached those duties and was negligent by:

           a. Failing to maintain or remedy hazardous conditions;

           b. Failing to otherwise warn passengers, including the Plaintiff, of the dangerous

                conditions;

           c. Failing to inspect for and to observe and resolve the dangerous conditions;

           d.   Failing to implement a method of inspection which was reasonable and safe and

                would prevent dangerous conditions such as the one in this case;

           e. Utilizing or allowing negligent training, supervising and retaining its crew to avoid

                such hazards;

           f. Failing to otherwise maintain the area and the premises in a safe and reasonable

                manner;

           g. Failing to comply with applicable standards, statutes, and/or regulations the

                violation of which is negligence per se and/or evidence of negligence.

    14. Defendant, MSC, failed to timely remedy said dangerous conditions on the subject ship and

       allowed these dangerous conditions to exist, thereby causing Plaintiff to be severely injured.

    15. Defendant either (a) had actual knowledge of the dangerous conditions; (b) had constructive

       knowledge of the dangerous conditions; and/or (c) would have had knowledge of the

       dangerous conditions had the Defendant implemented a proper method of inspection; and/or

       (d) created the dangerous conditions by failing to provide warnings or failing to remedy the

       dangerous conditions.

    16. Defendant had constructive knowledge of the dangerous conditions by, inter alia, (a) the

       length of time the dangerous conditions existed; (b) the size and/or nature and/or

       obviousness of the dangerous condition; and/or (c) the fact that the dangerous conditions, a


                                                     4
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Case 0:15-cv-61811-JIC Document 1 Entered on FLSD Docket 08/28/2015 Page 5 of 6
                                                                      CASE NO.: 0:15-CV-61811


       similar dangerous conditions, or the cause of the dangerous conditions was repetitive,

       continuous, ongoing, recurring, or occurring with some regularity. Thus, the dangerous

       conditions were reasonably foreseeable and in the exercise of reasonable care the Defendant

       should have known about it.

    17. In the alternative, notice to the Defendant is not required because the Defendant (a) engaged

       in and was guilty of negligent inspection and maintenance; and/or (b) negligently hired,

       supervised and retained its crew responsible for maintain, inspecting and remedying

       dangerous and/or hazardous conditions.

    18. The negligent condition had existed for a sufficient length of time so that Defendant

       should have known of it. The nature of the condition was a foreseeable occurrence in an

       area designated for passengers and thus required the timely and routine inspection of the

       premises.

    19. The negligent condition and other hazards occurred with sufficient regularity so as to be

       foreseeable by the Defendant, and should have been foreseeable by the Defendant.

    20. As a result of the Defendant’s negligence, Plaintiff has suffered severe bodily injury

       resulting in pain and suffering, disability, disfigurement, mental anguish, loss of capacity

       for the enjoyment of life, expense of hospitalization, medical and nursing care and

       treatment, loss of earnings, and loss of ability to earn money. The losses are either

       permanent or continuing. Plaintiff has suffered these losses in the past and will continue

       to suffer them in the future.

  WHEREFORE, Plaintiff, AIDA MONTANE, demands Judgment against Defendant, MSC, for

 damages suffered as a result of Plaintiff’s bodily injury and pain and suffering, disability,

 disfigurement, mental anguish, loss of capacity for the enjoyment of life, the expense of


                                                  5
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Case 0:15-cv-61811-JIC Document 1 Entered on FLSD Docket 08/28/2015 Page 6 of 6
                                                                       CASE NO.: 0:15-CV-61811


 hospitalization and medical and nursing care and treatment, loss of earnings, loss of ability to earn

 money, loss of important bodily functions, and significant and permanent scarring or

 disfigurement, which have been incurred or suffered in the past and which will be incurred or

 suffered in the future; all court costs, all interest, and any and all other damages which the Court

 deems just or appropriate.

                                   DEMAND FOR JURY TRIAL

 Plaintiff, AIDA MONTANE, demands a trial by jury on all issues so triable.

 Dated: this 28th day of August, 2015
                                                        ARONFELD TRIAL LAWYERS
                                                        Spencer Marc Aronfeld, Esq.
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                                                        By:     s/Spencer Marc Aronfeld_______




                                                   6
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